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             EXHIBIT 7
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                                                                               Page 1
        IN THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF COLUMBIA
------------------------x
AFL-CIO, et al.,                 :
              plaintiffs,        :
v.                               :   CASE NO.
DEPARTMENT OF LABOR,             :   1:25-cv-00339-JDB
et al.,                          :
              Defendant.         :
------------------------x




                30(b)(6) Deposition of
            DEPARTMENT OF LABOR through
                      RICKY KRYGER
                Tuesday, April 8, 2025
                         9:26 a.m.




BEFORE: Cassandra E. Ellis, RMR, RDR, CRR,
RSA, CA-CSR 14448, WA-CCR, HI-CSR




Job No.: 10519


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                                                                                 Page 2
 1                 The 30(b)(6) Deposition of
 2   DEPARTMENT OF LABOR through RICKY KRYGER,
 3   taken before CASSANDRA E. ELLIS, Registered
 4   Professional Reporter, Registered Merit
 5   Reporter, Registered Diplomate Reporter,
 6   Certified Realtime Reporter, Realtime
 7   Systems Administrator; California Certified
 8   Shorthand Reporter; Washington State
 9   Certified Court Reporter; Hawaii Certified
10   Shorthand Reporter; Notary Public, held in
11   Washington, D.C., on Tuesday, April 8, 2025,
12   commencing at 9:26 a.m. and concluding at
13   12:14 p.m.
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                                                                                Page 3
 1               A P P E A R A N C E S
 2      ON BEHALF OF THE PLAINTIFFS:
             ZOILA E. HINSON, PRO HAC VICE
 3           ALEXA MILTON, PRO HAC VICE
             RELMAN COLFAX PLLC
 4           1225 19th Street, Northwest
             Suite 600
 5           Washington, D.C. 20036
             (202) 728-1888
 6           Zhinson@relmanlaw.com
             Amilton@relmanlaw.com
 7
 8      ON BEHALF OF THE PLAINTIFFS:
             AMAN T GEORGE, ESQUIRE
 9           MARK B. SAMBURG, ESQUIRE
             DEMOCRACY FORWARD FOUNDATION
10           P.O. Box 34553
             Washington, D.C. 20043
11           (202) 448-9090
             Ageorge@democracyforward.org
12           Msamburg@democracyforward.org
13
14
        ON BEHALF OF THE DEFENDANT:
15           BRADLEY P. HUMPHREYS, ESQUIRE
             BENJAMIN S. KURLAND, ESQUIRE
16           ANDREW BERNIE, ESQUIRE
             US DEPARTMENT OF JUSTICE
17           1100 L Street, Northwest
             Washington, D.C. 20005
18           (202) 305-0878
             Bradley.humphreys@usdoj.gov
19
20
        ALSO PRESENT:         Joe Plick, DOL
21
22
23
24
25


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 1                  INDEX TO EXAMINATION
 2   30(b)(6) Deposition of
 3   DEPARTMENT OF LABOR through
 4   RICKY KRYGER
 5   EXAMINATION                                         PAGE
 6        By Ms. Hinson                                  7
 7
 8                      INDEXED PAGES
 9                                                       PAGE
10   RICKY KRYGER, sworn                                 7
11   REPORTER CERTIFICATE                                138
12   INSTRUCTIONS TO WITNESS (none)
13   DECLARATION UNDER PENALTY OF PERJURY                137
14   ERRATA SHEET                                        139
15
16                  INFORMATION REQUESTED
17                              None
18
19         WITNESS INSTRUCTED NOT TO ANSWER
20                       PAGES
21                 4, 5, 120, 134, 136
22
23
24
25


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 1            INDEX TO PLAINTIFFS EXHIBITS
 2                      RICKY KRYGER
 3                 Thursday, April 8, 2025
 4   MARKED              DESCRIPTION                    PAGE
 5   Exhibit 1     Plaintiffs' Notice of Rule           13
 6        30(b)(6) DEPOSITION OF Department
 7        Of Labor
 8   Exhibit 2     Declaration of Adam Ramada           16
 9   Exhibit 3     Declaration of Ricky J.              19
10        Kryger
11   Exhibit 4     EPACS Operator Account               31
12        Request Bates Stamped
13        25CV339_DOL00001
14   Exhibit 5     Privileged User/System               31
15        Administrator Request Bates
16        Stamped 25CV339 DOL00028
17   Exhibit 6     Defendants' Objections and           46
18        Responses to Plaintiffs'
19        Requests For Expedited Discovery,
20        Including Supplemental Responses
21   Exhibit 7     Presidential Documents:              61
22        Executive Order 14243 of
23        March 20, 2025
24
25


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 2                      RICKY KRYGER
 3                Thursday, April 8, 2025
 4   MARKED              DESCRIPTION                    PAGE
 5   Exhibit 8    Request to Access DOL                 93
 6        Information Systems Bates
 7        Stamped 25CV339_DOL00022
 8   Exhibit 9    U.S. Department of Labor              108
 9        User Agreement Bates Stamped
10        25CV339_DOL00194
11   Exhibit 10    U.S. Department of Labor             108
12        User Agreement Bates Stamped
13        25CV339_DOL00104
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                                                                                 Page 7
 1                 P R O C E E D I N G S
 2                 MR. HUMPHREYS:        Let me say
 3         that defendants Mr. Kryger would
 4         like to read ask sign.
 5                 MS. HINSON:      No problem.
 6                 MR. HUMPHREYS:        Thank you.
 7    30(b)(6) Deposition of DEPARTMENT OF LABOR
 8                 Through RICKY KRYGER
 9     having been sworn, testified as follows:
10                         EXAMINATION
11   BY MS. HINSON:
12         Q       Good morning.
13         A       Good morning.
14         Q       Thank you so much for joining
15     us this morning.
16                 How are you?
17         A       Good.
18         Q       Can you state and spell your
19     name for the record?
20         A       It's -- my legal name is Ricky,
21     R-i-c-k-y, and last name is Kryger,
22     K-r-y-g-e-r, but I go by Rick.
23         Q       Thank you.
24                 So I'm just going to start by
25     going over a few ground rules for today,


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                                                                               Page 8
 1   just to make sure we're on the same page,
 2   things go as smoothly as they can.
 3               Do you understand today that
 4   you are testifying on behalf of the
 5   Department of Labor about the topics
 6   listed in the deposition notice?
 7       A       Yes.
 8       Q       In terms of those ground rules,
 9   can you continue -- you're doing a great
10   job so far of giving verbal responses
11   instead of a nod or shake of the head,
12   and that's just so the court reporter can
13   get what we're saying; does that make
14   sense?
15       A       Yes.
16       Q       And it's important we don't
17   speak over each other, so I'm going to do
18   my best to let you finish, if you can do
19   your best to let me finish that would be
20   great; can you do that?
21       A       Yes.
22       Q       Wonderful.      Are you represented
23   by counsel today?
24       A       Yes.
25       Q       And who is that?


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                                                                               Page 9
 1        A       The Department of Justice and
 2   Department of Labor.
 3        Q       So your counsel might object to
 4   a question that I ask, that's okay, he's
 5   making his objection for the record, but
 6   unless he instructs you not to answer you
 7   should go ahead and answer the question,
 8   all right?
 9        A       Yes.
10        Q       If at any time you need a
11   break, you can just let me know.            We're
12   going to take at least one break
13   throughout the morning, but if you do
14   want to take a break, just answer the
15   question, if I've asked a question before
16   we take a break; does that make sense?
17        A       Yes.
18        Q       If you don't understand a
19   question, can you please just let me know
20   and I'll do my best to rephrase it, but
21   if you don't ask me to rephrase it I'll
22   assume that understood it; does that
23   work?
24        A       Yes.
25        Q       And along the same lines, if at


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                                                                             Page 12
 1        Q       And if I say HHS, do you
 2   understand that to mean Department of
 3   Health and Human Services?
 4        A       Yes.
 5        Q       Okay.   If I refer to DOGE that
 6   will refer collectively to the US Digital
 7   Service and the US Digital Service
 8   Temporary Organization; does that work?
 9        A       Yes.
10        Q       And the DOGE EO is the
11   executive -- is Executive Order 14158,
12   establishing and implementing the
13   President's Department of Government
14   Efficiency, all right?
15        A       Yes.
16        Q       All right.     Last one, the DOGE
17   team affiliates, that will be people
18   hired by or detailed to the agency since
19   January 19th, 2025 to work as part of the
20   DOGE team; understand?
21        A       Yes.
22        Q       All right.
23                Sorry, DOGE should be the US
24   DOGE Service and the US DOGE Service
25   Temporary Organization?


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                                                                              Page 13
 1         A       Yes, I understand.
 2         Q       Okay.   All right.
 3                 (Exhibit No. 1 was marked
 4         for identification.)
 5   BY MS. HINSON:
 6         Q       All right.     I'm handing you
 7     what has been marked as Exhibit 1.
 8                 MR. HUMPHREYS:      Thank you.
 9                 MS. HINSON:     Two copies for
10         you guys.
11                 MR. HUMPHREYS:      Great.
12   BY MS. HINSON:
13         Q       That is the deposition notice
14     for this deposition, have you seen this
15     before?
16         A       Yes, I have seen this --
17     this -- this is the latest one, just want
18     to -- I don't know if it's changed or --
19     this is -- what's the date on this?            I
20     don't see a date.
21         Q       It's from over the weekend.
22         A       Oh, over the weekend.
23         Q       The topics haven't changed
24     since the original.
25         A       So this is from the same as


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                                                                              Page 14
 1   like, a week or two weeks ago?
 2        Q       Yes.
 3        A       Okay.    I have seen it.
 4        Q       And do you understand that
 5   you're testifying on behalf of DOL to
 6   provide information known by the
 7   department about the topics in this
 8   notice?
 9        A       I understand that.
10        Q       Great.      And are you prepared to
11   testify about those topics?
12        A       I am.
13        Q       Wonderful.      Okay.
14                You can set that aside.
15        A       Okay.
16        Q       So it's my understanding, from
17   reviewing DOL's interrogatory responses,
18   that the DOGE team affiliates at DOL are
19   Marko Elez, Aram Moghaddassi and Miles
20   Collins; is that correct?
21        A       Yes, that's correct.
22        Q       Since January 19th, 2025, has
23   anyone else worked at DOL, as an employee
24   or a detailee, while simultaneously being
25   employed at DOGE?


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                                                                             Page 15
 1        A       No.
 2        Q       And since January 19th, 2025,
 3   has anyone else been detailed to DOGE
 4   whilst simultaneously being employed
 5   or -- employed by or detailed to DOL?
 6        A       No.
 7        Q       Since January 19th, 2025, has
 8   anyone else worked as an employee or
 9   detailee on the DOGE team while
10   simultaneously being employed by another
11   federal agency?
12        A       So simultaneously -- can you
13   read that back to me again?
14        Q       Sure.
15                So has anyone worked on the DOL
16   DOGE team while being simultaneously
17   employed by another federal agency?
18        A       No.
19        Q       And since January 19th, 2025,
20   has anyone else been hired by DOL to work
21   on the DOGE team?
22        A       No.
23        Q       Okay.   So it's just the three
24   people that I identified earlier?
25        A       Yes.


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                                                                              Page 20
 1     familiar.
 2         Q       Thanks.
 3         A       It's been a couple months.
 4         Q       I obviously maybe, like all of
 5     us, need to get a little more sleep.
 6                 MR. HUMPHREYS:       Or just like
 7         the movie.
 8                 MS. HINSON:     I've never seen
 9         the movie.      I feel disappointed.
10   BY MS. HINSON:
11         Q       I'm handing you what's been
12     marked as Exhibit 3, and this is a
13     declaration by Ricky Kryger, that's you,
14     filed in this case on February 13th; do
15     you recognize this?
16         A       Yes.
17         Q       Can you look at paragraph 13.
18                 Okay.     It says:    As of this
19     date there's one relevant worker who is
20     now a DOL employee working solely on
21     budget review.
22                 Who were you referring to in
23     this paragraph?
24         A       This was Marko Elez.
25         Q       And was he, at this point, a


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                                                                             Page 21
 1   detailee -- or sorry -- was he, at some
 2   point, a detailee to DOL?
 3        A       No.
 4        Q       Okay.   And do you remember when
 5   he retired at DOL?
 6        A       I believe it was February 12th.
 7        Q       Okay.   What has his role been
 8   at DOL since February 12th?
 9        A       He -- he has been reviewing
10   financial records and acquisition
11   information, expenditures of the
12   Department of Labor, grant information,
13   you know, procurement-type information,
14   accounting system data.
15        Q       And what has he been doing with
16   that information?
17        A       He has been reviewing it for
18   expenditures of the department that don't
19   necessarily align with the -- with the
20   executive orders issued by the President
21   or that could be considered fraud, waste
22   or abuse.
23        Q       And who makes the determination
24   of whether the expenditures are fraud,
25   waste or abuse or don't align with the


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                                                                              Page 22
 1     executive order of the President?
 2                 MR. HUMPHREYS:      Object on
 3         the basis of scope and instruct
 4         the witness not to answer that
 5         just to get more into his
 6         activities and not the access to
 7         the data.
 8                 MS. HINSON:     It has to do
 9         with the role and responsibilities
10         working at DOL, topic two.
11                 MR. HUMPHREYS:      That is
12         fair, apologies.
13                 THE WITNESS:      Can you repeat
14         the question, please?
15                 MS. HINSON:     Sure.
16   BY MS. HINSON:
17         Q       So you said that Mr. Elez's
18     responsibilities included reviewing
19     expenditures for fraud, waste and abuse
20     or whether they were in line with the
21     DOGE DOL; is that right?
22         A       I said with the President's
23     policies and other executive orders.
24         Q       Okay.
25         A       There's multiple executive


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                                                                             Page 23
 1   orders that relate to the President's
 2   policies and fraud, waste and abuse.
 3        Q       Okay.   Thank you.
 4                When he does that review,
 5   does he make the decision of
 6   whether -- or the determination of
 7   whether the expenditures align with
 8   the President's executive orders or
 9   constitute fraud, waste or abuse?
10        A       He makes recommendations, I
11   don't believe he makes decisions.
12        Q       Okay.   And who do those
13   recommendations go to?
14        A       His supervisors, the chief of
15   staff and the office of the secretary, so
16   I believe it goes there, it -- it could
17   be also in consultation with other
18   departments' executives that are
19   responsible for different program areas.
20        Q       Are his recommendations
21   typically followed?
22        A       I -- I can't speak to that,
23   because the number of recommendations
24   he's made and how many of those were, you
25   know, acted upon.


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                                                                             Page 24
 1        Q       What has his title been at DOL?
 2        A       He is a policy advisor.
 3        Q       Okay.   What does that mean?
 4        A       Okay.   Policy advisor is
 5   someone who interprets policies, such as
 6   executive orders, and examines other data
 7   and information and actions to determine
 8   whether they're in alignment with
 9   departmental or presidential policies and
10   orders.
11        Q       And is this a title that
12   existed at DOL on January 19th, 2025?
13        A       Yes.
14        Q       It's my understanding that
15   Mr. Elez is also detailed to HHS; is that
16   right?
17        A       Yes.
18        Q       Okay.   To your knowledge, has
19   Mr. Elez been employed by any other
20   federal agencies since January 19th,
21   2025?
22        A       He is also employed by the US
23   DOGE Service.
24        Q       And has he been detailed to any
25   other federal agencies since January


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                                                                             Page 32
 1   administration and management.
 2          Q      And did he, at any point,
 3   supervise Mr. Elez?
 4          A      He did, for a short period of
 5   time.      I -- I don't remember the exact
 6   timeline, but it was a point where then
 7   the supervision shifted to Mr. Han in the
 8   secretary's office.
 9          Q      Do you know why it shifted?
10          A      The -- they felt that the --
11   that the work was best supervised and
12   operated out of the secretary's office
13   rather than a subordinate agency of the
14   office of the assistant secretary for
15   administration management.
16          Q      Do you know why they felt that
17   way?
18          A      It's a department-wide
19   activity, kind of it meets the authority
20   of the secretary's office to -- to
21   operate in the best manner.
22          Q      And who made that decision?
23          A      I know that Mr. Finnegan was
24   involved in that discussion, I can't --
25   maybe the acting secretary -- maybe


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                                                                             Page 33
 1   Acting Secretary Vince Micone, at the
 2   time, was the ultimate decisionmaker.
 3        Q       And then, have you ever
 4   supervised Mr. Elez?
 5        A       I have never supervised him.
 6        Q       All right.     Do you know why you
 7   signed this Exhibit 4 as a supervisor?
 8        A       Yes, so I -- I signed that so I
 9   believe, again, this is a period of time
10   when Mr. Finnegan was the supervisor, I
11   signed in that area, to -- to -- just for
12   administrative ease in the process.
13                We had another form, which is
14   also in the binder, where Mr. Finnegan
15   also did sign or the assistant secretary
16   for administration management signed, so
17   that kind of covered that requirement.
18                So to have the form, for the
19   record, I signed in that area for
20   administrative burden to alleviate that
21   from the -- from the assistant secretary
22   for administration management.
23        Q       Is it the normal practice at
24   DOL for you to sign an access form or, I
25   should say, an account -- an operator


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                                                                             Page 34
 1   account request for someone that you're
 2   not supervising?
 3        A       Yeah, it's not a normal
 4   practice, but I do have the authority
 5   overall DOL systems, so I used my
 6   authority in this case to ease the
 7   administrative burden on upper-level
 8   agency management.
 9        Q       I'd like to switch gears
10   slightly to talk about Mr. Moghaddassi.
11                He's employed directly at DOL;
12   right?
13        A       Yes.
14        Q       Okay.   What has his role been
15   at DOL since January 19th, 2025?
16        A       His role has also been to, you
17   know, review the department's practices
18   or compliance with executive orders, as
19   well as to review data and information
20   for fraud, waste and abuse.
21        Q       Is there any functional
22   difference between his role and
23   Mr. Elez's role?
24        A       I'm not aware of any functional
25   difference between those two.            They --


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                                                                              Page 35
 1     they perform the same types of duties.
 2         Q        And have his
 3     responsibilities -- responsibilities
 4     changed at all since he started at the
 5     Department of Labor?
 6         A        No.
 7         Q        Am I right that he's detailed
 8     to HHS?
 9                  MR. HUMPHREYS:     Objection to
10         scope.
11                  You can answer if you know.
12         A        I don't -- unless I've
13     submitted here, I don't have, off the top
14     of my head, if he's been detailed to
15     other agencies.
16                  My understanding is he has been
17     detailed to other agencies.         I don't know
18     what the list of that is.
19         Q        Are you aware of any other
20     agencies he's been detailed to?
21                  MR. HUMPHREYS:     Same
22         objection.
23   BY MS. HINSON:
24         Q        You can answer.
25         A        Again, I don't have the list of


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                                                                              Page 36
 1     agencies, you know, off the top of my
 2     head, that he's been detailed to.
 3         Q        Do you know how the decision
 4     was made to hire any of the DOGE team
 5     affiliates?
 6                  MR. HUMPHREYS:     Objection to
 7         scope.
 8                  You can answer if you know.
 9         A        Again, just like other schedule
10     C hires at the Department of Labor,
11     whether in this administration or past
12     administrations, I don't -- I don't know
13     how they reach those decisions to hire
14     those individuals.
15         Q        Given that it's not -- well,
16     let me take a step back.
17                  I believe you testified
18     earlier that it's not the normal
19     practice of DOL to have employees who
20     are employed or detailed across
21     multiple federal agencies; is that
22     accurate?
23                  MR. HUMPHREYS:     Objection to
24         form.
25   ///


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                                                                              Page 37
 1   BY MS. HINSON:
 2         Q        You can answer.
 3         A        Sorry, restate that, please.
 4         Q        Sure.   Did you testify earlier
 5     that it's not the normal practice of DOL
 6     to have employees or detailees who are
 7     simultaneously employed across multiple
 8     federal agencies?
 9         A        I'm not aware of that being a
10     normal practice, no.
11         Q        Okay.   Why did DOL decide to do
12     that in this case?
13                  MR. HUMPHREYS:     Objection as
14         to scope.
15                  You can answer.
16         A        Again, I can't speak to the
17     employment decisions, you know, for this
18     schedule -- for these schedule C
19     employees or any other schedule C
20     employees of how hiring decisions were
21     made.
22         Q        What is the authority of the
23     DOGE team affiliates to direct DOL
24     employees?
25         A        Sorry, repeat, what was that


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                                                                             Page 38
 1   again?
 2         Q      What is the authority of the
 3   DOGE team affiliates to give direction to
 4   other DOL employees?
 5                MR. HUMPHREYS:      Objection,
 6         foundation.
 7         A      They might -- they do not have
 8   any authority to give direction.
 9         Q      Okay.   So they -- I think
10   it's -- how do they relate to other DOL
11   employees?
12         A      Can you clarify?
13         Q      Sure.
14                So you know there -- if there
15   is a disagreement between one of the DOGE
16   team affiliates and a DOL employee about
17   something that's within the scope of the
18   DOGE team's work, how does that conflict
19   get resolved?
20         A      It would be escalated through
21   normal management channels, possibly all
22   the way up to the secretary's office.
23         Q      And when you say normal
24   management channels, who would that be
25   to?


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                                                                             Page 39
 1        A       So supervisory channels of the
 2   individual or the dispute resides with --
 3   discuss it with their supervisor, and so
 4   on and so forth, potentially up to the
 5   office of the secretary.
 6        Q       And has that happened?
 7        A       It has not happened.
 8        Q       How do the DOGE team affiliates
 9   coordinate their work with DOGE?
10        A       So --
11                MR. HUMPHREYS:      Objection,
12        foundation.
13                Sorry, go ahead.
14                THE WITNESS:      Okay.
15        A       So the -- the DOGE team
16   affiliates report to the chief of staff
17   in the office of the secretary.           I do not
18   know of any other coordination with, I
19   guess, DOGE, as we defined at the
20   beginning of this deposition.
21        Q       Do you know a coordination with
22   anyone else, outside of DOL?
23        A       I -- I don't know of any other
24   coordination and in my discussions with
25   the DOGE team affiliates they say they


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                                                                             Page 40
 1   take their instructions from the chief of
 2   staff, the secretary's office or deputy
 3   secretary, potentially, since they work
 4   in the secretary's office.
 5        Q       Do they take any direction
 6   directly from DOGE?
 7                MR. HUMPHREYS:      Objection as
 8        to scope.
 9        A       I have not heard of any
10   direction being taken from outside of the
11   Department of Labor.
12        Q       Does DOGE have -- recognizing
13   that you said they didn't have taken
14   direction from the Department of Labor,
15   does DOGE have the authority to direct
16   them whether or not it's been exercised?
17                MR. HUMPHREYS:      Objection as
18        to scope, but go ahead.
19        A       No, as far as I'm aware.
20        Q       Are there any written policies
21   documenting the authority of the DOGE
22   team affiliates to direct or not direct
23   DOL employees?
24        A       So there are executive orders,
25   which speaks to their work, which


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                                                                             Page 41
 1   obviously serves as an instruction or a
 2   guide for Department of Labor employees
 3   to -- to -- to work with those staff.
 4   There's no other policies in place.
 5        Q       So when you're saying there are
 6   instructions to DOL employees to work
 7   with the DOGE affiliates, DOGE team
 8   affiliates, what does that -- what does
 9   that mean, in practice?
10        A       Did I say the word
11   instructions?      Okay.
12        Q       I guess I -- I -- I thought so,
13   but --
14        A       So the executive orders, you
15   know, are -- are clear on -- you know, in
16   the establishment of the -- the internal
17   DOGE teams, within agencies or referred
18   to as DOGE affiliates, here, to work
19   within the agency to identify fraud,
20   waste and abuse, and to make
21   recommendations on those findings or -- I
22   think there's also related executive
23   orders that have been issued on -- I
24   don't recall the exact number -- but on
25   data silos and reviewing data to assist


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                                                                             Page 42
 1   in finding fraud, waste and abuse by
 2   presidential -- those working under the
 3   President's authority or working within
 4   agencies that are part of those executive
 5   orders.
 6        Q       Does DOL interpret those
 7   executive orders and other directions to
 8   mean that it should take the
 9   recommendations of the DOGE team
10   affiliates?
11                MR. HUMPHREYS:      Objection as
12        to scope.
13                You can answer.
14        A       No.
15        Q       What does it take them to mean?
16        A       It takes the -- so the
17   executive orders are to identify fraud,
18   waste and abuse through -- through using
19   data and information and internal
20   discussions, and to make recommendations
21   to the appropriate personnel, such as
22   those chief of staff or others in the
23   office of the secretary or it could be
24   other executives in the Department of
25   Labor, where fraud, waste and --


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                                                                             Page 43
 1   potential fraud, waste and abuse has been
 2   identified and to, you know, just try and
 3   stop those activities.
 4        Q       So let's say you have a DOGE
 5   team affiliate who says that I think X is
 6   fraud, waste or abuse, and you have
 7   another Department of Labor employee who
 8   thinks, no, this is actually really
 9   necessary for agency function, what --
10   what happens to make the decision as to
11   what to do with that particular function?
12        A       So normal escalation
13   management, escalation channels will be
14   used, as I described earlier, to reach a
15   final decision.
16        Q       What's involved in making that
17   final decision?
18                MR. HUMPHREYS:      Objection as
19        to scope.
20        A       So information from both sides
21   would be considered, like in any
22   difference of opinion.         So both -- after
23   both sides being considered potential
24   risks or impact, then the -- depending on
25   how far it's had to escalate, if it's


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                                                                              Page 44
 1     escalated to the office of the secretary
 2     then the chief of staff or deputy
 3     secretary will make a final decision on
 4     what to do.
 5         Q       What authority do Department of
 6     Labor employees have to direct the DOGE
 7     team affiliates?
 8         A       Certainly the chief of staff
 9     has the authority to direct their
10     activities or the deputy secretary has
11     the authority to direct their activities,
12     but nobody else would have that authority
13     to direct their work.
14         Q       And, sorry, you said chief of
15     staff and who else?
16         A       Deputy secretary.
17         Q       All right.
18         A       And the secretary of labor, of
19     course.
20         Q       Okay.   And have the chief of
21     staff, secretary or deputy secretary, in
22     fact, directed their activities at DOL?
23                 MR. HUMPHREYS:      Objection as
24         to scope.
25   ///


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                                                                             Page 58
 1   would be typically another field on
 2   that form.
 3        Q       How are these requests
 4   evaluated?
 5        A       The request -- the primary
 6   reason -- thing that's evaluated is the
 7   need to know or reason for request.
 8        Q       And what factors are you used
 9   to determine if someone requesting access
10   has a need to access the system?
11        A       So again, what's the reason or
12   purpose for that access, what do they --
13   what are they going to do with that
14   access.
15        Q       Anything else?
16        A       I think, again, I think, at a
17   high level, that covers it.
18        Q       I mean, you're saying sort of
19   at a high level, is there another answer
20   at a more granular level?
21        A       I mean, there can be lots of
22   follow-up discussion about need to know
23   or, you know, purpose of access or what
24   the individual intends to do with that
25   access.


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                                                                              Page 59
 1         Q       So is that -- would you say
 2     that's a robust analysis of the need to
 3     know?
 4                 MR. HUMPHREYS:      Objection,
 5         form.
 6   BY MS. HINSON:
 7         Q       You can answer.
 8         A       Yes.
 9         Q       I wanted to ask about the
10     unemployment insurance data and related
11     records, what is this system?
12         A       This specifically refers to the
13     data that was transferred from the
14     department's office of the inspector
15     general, as was outlined in the executive
16     order on data silos, again, I don't
17     recall the executive order number, that
18     was transferred to the main Department of
19     Labor.
20         Q       And what information does it
21     contain?
22         A       Unemployment insurance claims
23     data from states' unemployment insurance
24     agencies.
25         Q       And what PII does it include?


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                                                                             Page 60
 1        A       It would include things such as
 2   name, address, I believe it has birth
 3   date, bank account information, address,
 4   person's address.        I believe that will --
 5   if I recall correctly there's flags in
 6   there for whether the -- it matched to
 7   the Social Security death match file,
 8   like is the individual deceased or not
 9   deceased.
10        Q       Does it have Social Security
11   numbers for people?
12        A       It would, yes, it would have
13   Social Security numbers.
14        Q       Anything else?
15        A       I -- I -- that's all I can
16   remember, off the top of my head.
17        Q       So you said it was data
18   transferred from OIG, when did that
19   transfer take place?
20        A       I believe it was on the same
21   day or the day following the issuance of
22   the executive order.        I don't know that
23   we have that in here.        It's the executive
24   order on data silos.
25        Q       Is it March 20th, 2025?


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                                                                               Page 61
 1         A       So your question was what,
 2     again?
 3         Q       I'm just -- when was the data
 4     transferred from OIG?
 5         A       Again, it was the -- it was the
 6     same day or the day following the
 7     executive order being -- and I don't have
 8     that information.
 9                 MS. HINSON:     Okay.       I think
10         we might be able to clarify that.
11                 Can you mark this as Exhibit
12         7.
13                 (Exhibit No. 7 was marked
14         for identification.)
15                 MS. HINSON:     Thank you,
16         Cassandra.
17   BY MS. HINSON:
18         Q       So you've been handed Exhibit
19     7, which is the executive order 14243,
20     stop waste, fraud and abuse by
21     eliminating information silos.
22                 Is this the executive order you
23     were just referencing?
24         A       Yes.
25         Q       And you see that it's dated


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                                                                             Page 62
 1   March 20th, 2025?
 2        A       I do see that.
 3        Q       Okay.   So does that mean the
 4   information -- the data was transferred
 5   from OIG on or around March 20th of 2025?
 6        A       On or around is correct.          I
 7   don't recall if it was the same day or
 8   the following day.
 9        Q       Okay.   Thank you.
10                What procedures have been
11   established regarding access to the
12   unemployment insurance data and related
13   records?
14        A       So the data are -- are located
15   in a tightly controlled area of our IT
16   systems, with very, very limited access
17   to -- to very few individuals.
18        Q       Okay.   And how would you
19   request access to that information?
20        A       A request for access to that
21   particular data would have to go through
22   the department's chief information
23   officer.
24        Q       And would that be written down?
25        A       It -- it will be done in the


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                                                                              Page 63
 1     procedures identified by the chief
 2     information officer.
 3         Q       Do you know what those
 4     procedures are?
 5         A       I do not know what those
 6     procedures are.
 7         Q       Okay.   But it's the typical
 8     course of the Department of Labor, when
 9     you're requesting access to a sensitive
10     system, to make that request, at least in
11     part, in writing; correct?
12                 MR. HUMPHREYS:      Objection,
13         mischaracterizes testimony.
14   BY MS. HINSON:
15         Q       You can answer.
16         A       Can you repeat that again?
17         Q       Okay.   It's the normal course
18     of the Department of Labor when someone
19     is requesting access to a sensitive
20     system that they need to fill out a form
21     as part of making that request; correct?
22         A       Yes.
23         Q       Okay.   And in that form they
24     would need to write down their need to
25     access that system of records; correct?


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                                                                             Page 71
 1   an e-mail, but it would not be a --
 2   necessarily be a form like you see for
 3   the system access.
 4        Q       Are there any written policies
 5   at DOL governing the use of data extracts
 6   by people who do not have access to the
 7   underlying sensitive system?
 8        A       There are department policies
 9   governing the use and protection of data
10   that are universal, regardless of whether
11   you have access to the system that
12   contains the data or you're handling the
13   data outside the system.
14        Q       I think you also testified
15   earlier that sometimes the need for an
16   access to a sensitive system is apparent
17   based on the type of system; is that
18   right?
19        A       I would say based on the -- the
20   person's role or work responsibilities or
21   duties.
22        Q       How does a system owner make
23   the determination that someone needs
24   access to a system based on their role or
25   duties?


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                                                                             Page 72
 1         A      It could be in the request form
 2   itself or it could be based on the, you
 3   know, the person's role within the
 4   organization or within the department, it
 5   could be apparent that they would need to
 6   have access to that data.
 7         Q      What do you mean it could be
 8   apparent?
 9         A      So in this example here, I
10   believe it's apparent from the executive
11   orders that the -- these individuals on
12   the -- the affiliates, I guess we're
13   calling them here, need access to data
14   within departmental systems, whether it's
15   the UI data or whether it's financial
16   records or grant information, that it
17   would be apparent that falls within that
18   roles and responsibilities as outlined in
19   the executive orders.
20         Q      So does that mean that the DOGE
21   team affiliates were granted access to
22   the sensitive systems, that I listed
23   before the break, based on that apparent
24   need from the -- the information silos
25   EO?


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                                                                             Page 73
 1        A       I would say that it is
 2   apparent, but that doesn't mean that they
 3   may still not explain why they need it or
 4   state why they need it, and you'll see
 5   that in some of the access forms.
 6        Q       How were DOGE team affiliates
 7   request to -- let me take a step back.
 8                How do DOGE team affiliates
 9   request access to sensitive systems?
10        A       They -- they log into the
11   system, like a user, with that same type
12   of role, whatever role it is they're
13   granted within that system.
14        Q       Do -- do they use -- do they
15   submit a form requesting access?
16        A       Yes, they do submit forms.
17        Q       And what do those forms need to
18   show in order for them to gain access to
19   a system?
20        A       I feel like it's the same
21   question as earlier.
22                So the forms, again, would have
23   their name and contact information, the
24   organization they work for, and include
25   the type of role that's being requested.


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                                                                              Page 74
 1         Q       I guess what I'm trying to ask
 2     is -- is this:      You did outline this
 3     process earlier, for how someone at the
 4     Department of Labor requests access to a
 5     sensitive system, but it sounded like,
 6     from what you were just saying about the
 7     information silos EO, that for the DOGE
 8     team affiliates it was apparent based on
 9     that EO that they would need access to
10     those systems; is that -- am I accurately
11     describing your testimony?
12                 MR. HUMPHREYS:      Object to
13         form.
14   BY MS. HINSON:
15         Q       You can answer.
16         A       So -- so again, can you restate
17     that, please?
18         Q       Sure.
19                 I understood your testimony a
20     few minutes ago to be saying it was
21     apparent, based on the information silos
22     EO, that the DOGE team affiliates needed
23     access to sensitive systems at DOL; is
24     that accurate?
25         A       Yes.


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                                                                             Page 75
 1        Q       Okay.   Does that -- does the
 2   fact that their need for since
 3   sensitive -- for access to sensitive
 4   systems is apparent on the basis of the
 5   EO change the process that they use to
 6   request access?
 7        A       No.
 8        Q       Okay.   Does it change how that
 9   need for access is evaluated?
10        A       Yes.
11        Q       And how does it change how the
12   need for access is evaluated?
13        A       Because the need is apparent by
14   their role and responsibilities outlined
15   in the EO.     You know, there's -- I would
16   say there's fewer additional follow-up
17   questions with regard to, you know, what
18   the need is about, because it's already
19   been publicly outlined.
20        Q       So what are some examples of
21   follow-up questions that would be asked
22   of another user that are not being asked
23   of a DOGE team affiliate?
24                MR. HUMPHREYS:      Objection,
25        form.


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                                                                             Page 76
 1        A       So a normal question, like if
 2   it's coming from another area of the
 3   department, as an example, that's not --
 4   that's not normally worked with that area
 5   of sensitive data, is to ask, you know,
 6   what's -- what -- what is the access --
 7   why is the access needed, what will the
 8   access be used for, maybe what -- yeah,
 9   will there be any potential sharing of
10   that data?
11                So it's -- it's making sure
12   that the security of the data and the use
13   of the data conform with the, you know,
14   legal responsibilities and policies of
15   the department.
16        Q       And those are all questions
17   that don't get asked of the DOGE team
18   affiliates; correct?
19        A       Yes, I would say that's
20   correct.
21        Q       Okay.   Was the need for the
22   DOGE team to have access to sensitive
23   systems apparent based on the January
24   20th DOGE EO?
25        A       I would say the -- the need was


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                                                                              Page 77
 1     apparent, yes.
 2         Q       And did the January 20th DOGE
 3     EO also alter how DOGE team affiliates
 4     request for access were evaluated at the
 5     Department of Labor?
 6                 MR. HUMPHREYS:      Objection.
 7   BY MS. HINSON:
 8         Q       You can answer.
 9         A       I would say it didn't alter,
10     because they didn't exist prior to
11     January 20th, if I'm understanding your
12     question -- your question correctly.
13         Q       It was a bad question.
14                 There's -- you described
15     earlier today a process by which
16     employees -- the requested employees
17     of the Department of Labor are
18     evaluated in terms of access to
19     sensitive systems, is that right?
20         A       Yes.
21         Q       Did the January 20th DOGE EO
22     cause the Department of Labor to use a
23     different standard when evaluating the
24     requests of the DOGE team affiliates?
25         A       No, I don't think so.


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                                                                              Page 78
 1         Q       Okay.   Did the fact that the --
 2     there was an apparent need, based on the
 3     DOGE team -- sorry -- based on the DOGE
 4     EO, from January 20th, for the DOGE team
 5     affiliates to access the systems, play a
 6     role in evaluating their requests for
 7     access?
 8                 MR. HUMPHREYS:      Objection to
 9         form.
10                 THE WITNESS:      Yeah, I'm --
11         can you restate?
12                 MS. HINSON:     That was also a
13         bad question.
14   BY MS. HINSON:
15         Q       So you -- you testified that
16     the -- the need for the DOGE team
17     affiliates to have access to sensitive
18     systems was apparent based on the January
19     20th DOGE EO; correct?
20         A       Yes.
21         Q       Did that play a role when --
22     when DOL evaluated whether DOGE team
23     affiliates could access sensitive
24     systems?
25                 MR. HUMPHREYS:      Object to


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                                                                              Page 79
 1         the form.
 2   BY MS. HINSON:
 3         Q       You can answer.
 4         A       Yes.
 5         Q       How did it play a role?
 6         A       It -- it played a role in that
 7     it made the role and responsibility of
 8     the individuals performing that work,
 9     that there was a -- a clear and apparent
10     need for accessing those systems and that
11     data.
12         Q       Did the individuals evaluating
13     the requests for access need any other
14     information about the DOGE team
15     affiliates' need to access the sensitive
16     systems?
17         A       The answer to that is no, if
18     I'm understanding the correct question.
19         Q       All right.     Have any DOGE team
20     affiliates viewed data extracts from
21     sensitive systems that they do not
22     otherwise have access to?
23                 MR. HUMPHREYS:      Objection as
24         to scope, but you can answer if
25         you know.


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                                                                             Page 80
 1         A      So the question is, have they
 2   reviewed data extracts but not had system
 3   access?
 4         Q      Correct.
 5                MR. HUMPHREYS:      Same
 6         objection.
 7         A      I think the answer to that is
 8   no.
 9         Q      Okay.   Do DOGE team affiliates
10   need to fill out a written request to
11   access the sensitive system?
12         A      Do DOGE team affiliates --
13         Q      Yeah.
14         A      -- need to fill out a request
15   to access the system?        Yes.
16         Q      Okay.   Can you look at it's
17   Exhibit 6, I believe, the interrogatory
18   responses.
19         A      Exhibit 6?
20         Q      And if you'll look at page 17,
21   it says that Mr. Elez has been granted
22   access -- sorry -- granted permission to
23   access core sensitive systems, including
24   the unemployment insurance data and
25   related records; do you see that?


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                                                                             Page 81
 1        A       Yes.
 2        Q       All right.     And then on page 18
 3   it says that Mr. Moghaddassi has been
 4   granted permission to access five
 5   sensitive systems, including the
 6   unemployment insurance data and related
 7   records; do you see that?
 8        A       Yes.
 9        Q       Has Mr. Elez submitted a
10   written request to access the
11   unemployment insurance data and related
12   records?
13        A       I -- I don't have -- I don't
14   know for sure if it was a written request
15   via e-mail.     There is no form, if that's
16   your question.
17        Q       Do you know if they submitted a
18   written request of any kind?
19        A       I don't know how that request
20   was made.
21        Q       And do you know if
22   Mr. Moghaddassi submitted a written
23   request for the unemployment insurance
24   data and related records?
25        A       Same response.


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                                                                              Page 82
 1         Q       Are you aware that the
 2     Department of Labor has produced
 3     documents in this case?
 4         A       Yes.
 5         Q       Okay.   Those documents did not
 6     include written requests by Mr. Elez or
 7     Mr. Moghaddassi for access to the
 8     unemployment insurance data and related
 9     records, does that mean that they don't
10     exist?
11                 MR. HUMPHREYS:      Objection to
12         form and to scope.
13   BY MS. HINSON:
14         Q       You can answer.
15         A       Does that mean they don't
16     exist?   I don't believe that's a hundred
17     percent the case.
18         Q       So what is -- what does that
19     mean, you don't believe it's 100 percent
20     the case?
21         A       So if a request was made via
22     e-mail, and I guess if that e-mail was
23     not part of the documents provided, it
24     may exist, there's that potential.
25         Q       I'll come -- I'll come back to


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                                                                              Page 86
 1                  MR. HUMPHREYS:     Objection,
 2         vague.
 3                  THE WITNESS:     Can you
 4         clarify?
 5                  MS. HINSON:    Sure.
 6   BY MS. HINSON:
 7         Q        So if there were any other DOGE
 8     team affiliate who requested access to
 9     the unemployment insurance data and
10     related records would they be granted
11     access to that because of the information
12     silos EO?
13                  MR. HUMPHREYS:     Objection,
14         speculative.
15   BY MS. HINSON:
16         Q        You can answer.
17         A        So again, I'm not one.        The
18     chief information officer is the one
19     specifically controlling access to that,
20     so that would be within his determination
21     or decision.
22                  But I believe any of the three
23     individuals it falls within their role
24     and responsibility in -- in accessing
25     that data.


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                                                                             Page 87
 1        Q       If you look at the
 2   interrogatory responses at pages 18 to
 3   20, they indicate that Mr. Elez and
 4   Mr. Moghaddassi and Mr. Collins were all
 5   denied access to ASAP.gov and Adobe
 6   licensing portal.
 7                So what's ASAP.gov?
 8        A       ASAP.gov is a treasury system
 9   that tracks payments for the Department
10   of Labor, specifically payments related
11   to grants.
12                And the Adobe licensing portal
13   is to -- to view the Department of
14   Labor's -- how many licenses we own and
15   what's the utilization of that licensing,
16   how many licenses were in use.
17        Q       Why were they denied access to
18   ASAP.gov.
19        A       ASAP.gov was denied due to
20   ongoing litigation involving Treasury and
21   access to that system.         Yeah.
22        Q       And why were they denied access
23   to Adobe Licensing Portal?
24        A       Adobe Licensing Portal was
25   denied because it did not have a


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 1   read-only view of the data.
 2                Access could only be granted
 3   that would allow an individual to change
 4   to provision and de-provision licenses,
 5   not just view usage.
 6        Q       Were these denials documented?
 7        A       They weren't documented, but
 8   the access request process was halted, it
 9   was not completed, so there's not, like,
10   a form that says denied on it, if that's
11   what you're referring to.
12        Q       And for ASAP.gov, is it fair to
13   say that the denial was unrelated to
14   whether or not they had a need to access
15   the system?
16                MR. HUMPHREYS:      Objection as
17        to scope, but you can answer.
18        A       The denial was related to the
19   litigation so, yes, it was unrelated to
20   the need in this case.
21                MS. HINSON:     All right.      Can
22        we go back to your declaration
23        from February 13th.
24                And I will be honest, I have
25        lost track of what the exhibit


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 1         number is.
 2                 MR. HUMPHREYS:       2 or 3.
 3                 MS. MILTON:     3.
 4                 MS. HINSON:     3?    Great.
 5         It's Exhibit 3.       Thank you, guys.
 6   BY MS. HINSON:
 7         Q       So if you look at paragraph
 8     nine, it says:      Relevant employees will
 9     provide 24 hours notice before seeking
10     access to each DOL IT system to allow DOL
11     an opportunity to meet its obligations to
12     ascertain and mitigate any conflicts of
13     interest, establish confidentiality
14     protocols, and identify and account for
15     any system that may contain legally
16     protected information; do you see that?
17         A       Yes.
18         Q       Okay.    Was this policy in place
19     as of January 19th, 2025?
20         A       I would say no.
21         Q       When did this policy come into
22     place?
23         A       The -- this is specifically
24     about the DOGE affiliates, so it came
25     into place with the -- with the, I guess,


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 1   executive order and individuals when
 2   individuals were on-boarding to DOL to do
 3   their work.
 4          Q     How does this differ from the
 5   policy that applies to other DOL
 6   employees?
 7          A     I would say the policy is --
 8   it's the same.       The main difference here
 9   is just treat it with more urgency I
10   would say is the main difference.
11          Q     When you say treating it with
12   more urgency, are you talking about the
13   request for access?
14          A     Yeah, the request for access,
15   yes.
16          Q     Okay.    How long does it
17   typically take for someone requesting
18   access to a sensitive system at DOL to
19   receive that access?
20          A     It depends, it could take -- I
21   think, as you've seen, it could take
22   awhile.    Even here, it takes awhile to
23   get all the signatures on the form.
24                So it could take, you know,
25   two to three days, you know, just


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 1   depending on how long it takes to get
 2   it through that process.         The actual
 3   provisioning of the access is pretty
 4   fast.
 5        Q       In general, are DOGE team
 6   affiliates granted access to sensitive
 7   systems more quickly than other DOL
 8   employees?
 9        A       I would say yes.
10        Q       How much more quickly?
11        A       We try to turn around within a
12   day, but it still can take two to three
13   days to get through the process.
14        Q       And why is there a different
15   standard for the DOGE team affiliates
16   than other DOL employees?
17                MR. HUMPHREYS:      Objection to
18        form.
19                Go ahead.
20        A       I would say it's a different
21   standard because of the importance
22   outlined by the President, who's the head
23   of the executive branch, and by the fact
24   that these individuals report, you know,
25   certainly, now, to the -- to the


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 1   secretary's office and report to the
 2   secretary's chief of staff.
 3                Anything in IT, you know, where
 4   individuals are working at that level, is
 5   treated with more urgency.
 6        Q       Do you -- DOL employees seeking
 7   access to sensitive systems typically
 8   have to provide more than 24 hours notice
 9   before seeking access?
10        A       I -- I would say no, that's
11   probably poorly worded here.             We try to
12   grant access as quickly as we can.              I
13   think the main difference here, and the
14   intent is to, you know, get through that
15   review process and approval process, you
16   know, as quickly as possible while still
17   doing our due diligence.
18        Q       This also says that DOL will
19   establish confidentiality protocols.                Are
20   those confidentiality protocols specific
21   to the DOGE team affiliates?
22        A       The one thing we created,
23   that's specific to the DOGE team
24   affiliates, is that request for access
25   form, just so make sure -- that did not


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 1     exist prior to January 20th, and it was
 2     to ensure, you know, that the -- that,
 3     you know, the individuals understood the
 4     data that they were handling and any laws
 5     or other training or other requirements
 6     related to that data.
 7                 MS. HINSON:     Can you -- I
 8         think we're at Exhibit 8.
 9                 (Exhibit No. 8 was marked
10         for identification.)
11                 MS. HINSON:     Thank you.
12   BY MS. HINSON:
13         Q       So you've just been handed
14     Exhibit 8, which begins at DOL 22.
15                 Is this the request for access
16     form you were just referencing?
17         A       Yes.
18         Q       And just so I'm clear, this was
19     created specifically for the DOGE team
20     affiliates?
21         A       Yes.
22         Q       Why was a special form created
23     for them?
24         A       So we just wanted to make sure
25     that we were, you know, fully understand


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                                                                             Page 94
 1   the data contained within the system, the
 2   laws pertaining to the protection of that
 3   data, and that the individuals requesting
 4   and receiving access also had that same
 5   understanding.
 6        Q        Do -- is that information
 7   contained in the forms to request access
 8   used by other DOL employees?
 9                 MR. HUMPHREYS:     Objection,
10        vague.
11        A        Yes, I think in various forms,
12   you know, but I think the -- so in terms
13   of rules of behavior, a lot of the same
14   information is in there, whether it's
15   Privacy Act protected data, for example,
16   so similar or same information is in the
17   normal forms or other artifacts that
18   other DOL employees would encounter or
19   have to complete.
20        Q        So if that's the case why did
21   DOL feel the need to create a separate
22   form for the DOGE team affiliates?
23        A        So I think it was -- so I was
24   involved in that process, along with the
25   office of the solicitor, and it was just


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 1   extra due diligence with new individuals
 2   coming into the department that they
 3   fully understood the data they were
 4   encountering and using and accessing, and
 5   that, you know, it included a full legal
 6   review, as well, right?
 7                So the office of the solicitor
 8   would complete section B in here to
 9   reference any laws pertaining to the
10   data.    They would -- office of the
11   solicitor also would conduct a legal
12   review to determine if there was other
13   litigation that may prevent access to the
14   data, which was the case with ASAP.gov,
15   as we were completing this forms process,
16   that could stop the access from being
17   processed.
18        Q       Thanks.
19                Going back to your declaration,
20   I think -- I was asking about the
21   confidentiality protocols.
22                What confidentiality protocols
23   existed before the DOGE team affiliates
24   began seeking access to sensitive
25   systems?


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                                                                             Page 96
 1        A       So there's -- there's -- I
 2   mean, there's routine training that the
 3   affiliates also had to complete, like
 4   Privacy Act training.        There's, you know,
 5   account reviews, which is a normal
 6   process that people who have access
 7   should continue to have access to -- to
 8   systems and data.        There's, as I
 9   mentioned earlier, data exfiltration
10   monitoring, if data's leaving the
11   department's network that's continuous
12   monitoring.
13                Yeah, I think training and
14   review of system access are probably the
15   key things there.
16        Q       So what confidentiality
17   protocols did DOL need to establish for
18   the DOGE team affiliates?
19                MR. HUMPHREYS:      Objection,
20        foundation.
21                I withdraw my objection.
22        A       So I think the main -- the main
23   one is the creation of this form and
24   ensuring that the requests are
25   understood, the data contained in the


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                                                                             Page 97
 1   system, the laws related to the data is
 2   probably the key one that was created for
 3   the affiliates.
 4        Q       Were there any others?
 5        A       No.
 6        Q       Then I think it also says that
 7   the DOGE team affiliates need to provide
 8   24 hours notice to allow DOL an
 9   opportunity, quote, to meet its
10   obligations to ascertain and mitigate any
11   conflicts of interests, unquote.
12                What does DOL do to
13   ascertain conflicts of interest?
14        A       So -- so all of the -- the
15   affiliates also had to take ethics
16   training, so whether they could -- to
17   make sure they have no conflicts.
18                And then, in the course of
19   completing this access request, you know,
20   they would need to apply that ethics
21   training against the access that they're
22   gaining to make sure that there's no
23   conflicts of interest.
24                And then I guess other types of
25   conflicts of interest could be related to


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 1   other litigation related to access to
 2   systems and data, like I referenced
 3   earlier.
 4        Q        Just so I'm clear, are -- did
 5   you just testify that the DOGE team
 6   affiliates are the ones who are assessing
 7   whether they have a conflict of interest?
 8                 MR. HUMPHREYS:      Objection to
 9        scope.
10                 Go ahead.
11        A        Just like any government
12   employee, they have to apply the ethics
13   training and, you know, what they're
14   doing in their job against things they
15   may be doing in their private life,
16   whether it may pose a conflict and have
17   to -- and then you're required to
18   disclose that, so the same thing would
19   apply to these affiliates.
20        Q        Is anyone else evaluating
21   whether they have a conflict of interest?
22                 MR. HUMPHREYS:      Objection to
23        scope.
24        A        No.
25        Q        What would constitute a


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 1     conflict of interest under this policy?
 2                  MR. HUMPHREYS:     Can I have a
 3         standing objection on this line --
 4                  MS. HINSON:    Sure.
 5                  MR. HUMPHREYS:     -- as to
 6         scope.
 7                  THE WITNESS:     Sorry, could
 8         you repeat that, please?
 9                  MS. HINSON:    Sure.
10   BY MS. HINSON:
11         Q        Under this policy, as included
12     in your declaration, what constitutes a
13     conflict of interest?
14         A        So -- so just like any
15     government employee, it could be other
16     employment, you know, that -- that the
17     individual may have, that may be related
18     to the work they're doing at the
19     department.
20                  You have to apply whether that
21     other work or that other stream of income
22     is related to your work and you may have
23     to disqualify yourself.
24                  So it's -- unless -- unless
25     there is something that raises concern


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 1     through other channels, public reports,
 2     then it's -- it's up to the -- to the
 3     individual to disclose potential
 4     conflicts of interest and raise that to
 5     the solicitor's office for review.
 6         Q       Are Mr. Elez, Mr. Moghaddassi
 7     and Mr. Collins paid by the Department of
 8     Labor?
 9         A       They are full-time employees in
10     our HR system, and I have not reviewed
11     payroll records, but from everything that
12     I see they're in the system as a normal
13     employee and should be receiving pay.
14         Q       And as we discussed earlier,
15     Mr. Elez and Mr. Moghaddassi, at least,
16     are also concurrently employed or
17     detailed to other agencies; correct?
18                 MR. HUMPHREYS:      Objection to
19         form.
20   BY MS. HINSON:
21         Q       You can answer.
22         A       So who -- who was concurrent?
23     Sorry.
24         Q       Mr. Elez is also detailed to
25     other agencies; correct?


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                                                                           Page 101
 1        A       Yes.
 2        Q       And as Mr. Moghaddassi is also
 3   employed at other agencies; correct?
 4        A       No.
 5        Q       Is he detailed to other
 6   agencies?
 7        A       Mr. Moghaddassi, my
 8   understanding, is he is detailed to other
 9   agencies.
10        Q       Okay.   Do you know if they're
11   being compensated by these other
12   agencies?
13                MR. HUMPHREYS:      Objection as
14        to scope.
15        A       Under a detail, they would not
16   be compensated by the other agencies.
17        Q       Would the -- would their work
18   for other agencies fall within the scope
19   of conflicts of interest that they would
20   need to evaluate?
21        A       Yes.
22        Q       Do you know what they've done
23   to evaluate those conflicts of interest?
24                MR. HUMPHREYS:      Objection as
25        to scope.


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                                                                           Page 106
 1        Q       Okay.   And how does that differ
 2   from the access agreements when we're
 3   referring to other DOL employees?
 4                MR. HUMPHREYS:      Objection,
 5        form.
 6        A       So it's -- it's the same,
 7   except the access -- request for access
 8   form is in addition to that of normal
 9   employees that the affiliates must
10   complete.
11        Q       Okay.   Is there an access
12   agreement for the unemployment insurance
13   data-related records?
14        A       So there is -- there is no
15   exist -- because the data were just
16   transferred from the OIG, there is no
17   existing normal user access request
18   agreement for that data, if that's the
19   question you have.
20        Q       I think so, yes.
21        A       Okay.
22        Q       Can you look back at the
23   interrogatory responses, again, so
24   Exhibit 6.
25        A       Exhibit 6?


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                                                                            Page 107
 1         Q       At 19 -- 18 to 19.
 2         A       Mm-hmm.
 3         Q       Okay.     At the -- in the first
 4     paragraph, on the top of 18, second
 5     sentence, it says:       To gain access to the
 6     systems Mr. Elez signed rules of behavior
 7     for each system; do you see that?
 8                 MR. HUMPHREYS:      Top of 19?
 9                 MS. HINSON:     Top of 18.
10                 THE WITNESS:      Okay.     Yes.
11   BY MS. HINSON:
12         Q       And then, at the top of 19, the
13     second sentence of that first paragraph,
14     it says:    Mr. Moghaddassi signed rules of
15     behavior for each system; do you see
16     that?
17         A       Yes.
18         Q       Okay.     Are there rules of
19     behavior for the unemployment insurance
20     data and related records?
21         A       So not specifically for that
22     data, but the rules of behavior certainly
23     for our general network would apply,
24     which kind of covers all system access.
25                 But in some cases there's also


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                                                                            Page 108
 1     an additional rules of behavior that may
 2     be produced specific to a system, which
 3     did -- does not exist for the UI data.
 4         Q       What portion of DOL systems
 5     have a system specific rules of behavior?
 6                 MR. HUMPHREYS:      Objection to
 7         form.
 8         A       I -- I don't know,
 9     specifically.     I will say that we have
10     been trying to move everything to that
11     one single rules of behavior that -- that
12     individuals must agree to that -- that's
13     a part of our general network access.
14                 So we're trying to reduce
15     individual specific rules of behavior
16     documents per system.
17                 MS. HINSON:     Mark this as 9.
18                 MR. HUMPHREYS:      Thank you.
19                 (Exhibit No 9 was marked for
20         identification.)
21                 MS. HINSON:     And, actually,
22         we've got a 10, too.
23                 (Exhibit No. 10 was marked
24         for identification.)
25   ///


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                                                                            Page 109
 1   BY MS. HINSON:
 2         Q       Okay.   All right.      You've been
 3     handed Exhibit 9 and 10.
 4                 Exhibit 9 is DOL 194 and
 5     Exhibit 10 is DOL 104.
 6                 And I believe they're the same
 7     user agreement form, one with
 8     Mr. Moghaddassi's information and one
 9     with Mr. Elez's information; is that
10     right?
11         A       Yes, that's the same form.
12         Q       What is this form?
13         A       Oh, so this is the form
14     confirming that the individual has
15     completed the standard computer security
16     training for DOL.
17         Q       Is this form used for non-DOGE
18     team affiliates?
19         A       This form is used for
20     everybody, including Department of Labor
21     employees and contractors.
22         Q       Okay.   Are DOL employees and
23     contractors supposed -- well, when are
24     DOL employees and contractors supposed to
25     complete this form?


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                                                                           Page 110
 1                MR. HUMPHREYS:      Objection,
 2        foundation.
 3        A       So this form should be
 4   completed at the beginning of their work,
 5   either beginning of their employment or,
 6   for a contractor, when they begin -- when
 7   they on-board at DOL to begin on
 8   Department of Labor systems.
 9        Q       Should an employee or
10   contractor be given access to sensitive
11   systems without filling out this form?
12        A       The answer to that would be no.
13        Q       Okay.   So you can see that
14   Mr. Moghaddassi's Exhibit 9,
15   Mr. Moghaddassi's form, it's been filled
16   out with his name and address but hasn't
17   been signed; do you see that?
18        A       I do see that.
19        Q       So the form is incomplete;
20   correct?
21        A       It appears so, yes.
22        Q       Okay.   So because this form is
23   incomplete, Mr. Moghaddassi should not
24   have been given access to sensitive
25   systems; correct?


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                                                                             Page 111
 1                    MR. HUMPHREYS:    Objection,
 2            form.
 3   BY MS. HINSON:
 4            Q       You can answer.
 5            A       I believe that's accurate to
 6     say.
 7            Q       And if you look at Exhibit 10,
 8     Mr. Elez did digitally sign and date this
 9     form, and it's dated March 25th, 2025; do
10     you see that?
11            A       Yes.
12            Q       Am I correct that Mr. Elez was
13     given access to sensitive systems as
14     early as February 25th, 2025?
15                    And if you want to reference I
16     believe it's on page 17 of the
17     interrogatory responses.
18            A       That appears correct, yes.
19            Q       Okay.   And so between February
20     25th, 2025 and March 2020 -- March 25th,
21     2025, Mr. Elez should not have been
22     granted access to sensitive systems;
23     correct?
24                    MR. HUMPHREYS:    Objection to
25            form.


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                                                                            Page 112
 1   BY MS. HINSON:
 2         Q       You can answer.
 3         A       I would say the answer to that
 4     is yes.    I -- I do want to add a little
 5     bit of context, here, in that as part of
 6     the normal on-boarding of employees, the
 7     department's office of human resources
 8     works with the individuals that are
 9     on-boarding to review and -- and
10     acknowledge completion of the computer
11     security training.
12                 So I do, you know, want the
13     opportunity to go back and see if that
14     was just completed through a different
15     process, at the beginning of their
16     employment, to see if that exists.
17         Q       I think you can set that aside.
18                 Have any DOGE team affiliates
19     made any changes to sensitive systems?
20         A       No.
21         Q       Have any DOGE team affiliates
22     installed any software on any DOL
23     systems?
24         A       Yes.
25         Q       Okay.   Who -- who installed


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                                                                           Page 113
 1   software on DOL systems?
 2        A       So Marko Elez did install some
 3   software.
 4        Q       And is that Visual Studio Code
 5   and PYTHON?
 6        A       Yes.
 7        Q       Why did he install those on DOL
 8   systems?
 9        A       To analyze data in the course
10   of his work.
11        Q       Okay.   Did he receive
12   permission to install those programs
13   before he installed them?
14        A       No, he did not.
15        Q       Was -- has he removed those
16   programs from DOL systems?
17        A       Those are approved software
18   packages, and so the software has not
19   been removed.
20        Q       Okay.   When you say they're
21   approved software packages, what does
22   that mean?
23        A       They've -- they've been
24   previously approved for use at the
25   Department of Labor, and so there was no


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                                                                            Page 114
 1     need to remove them.
 2         Q        Just so I'm clear what
 3     happened, is it -- is it the case that
 4     because they are pre-approved packages it
 5     was okay that he installed them in the
 6     first instance or was it that he
 7     installed them and then somebody at DOL
 8     decided it was okay because the packages
 9     had been pre-approved or something else?
10         A        So, I'm sorry, can you restate
11     your question?
12         Q        Sure.
13                  When Mr. Elez installed
14     these -- actually, let me ask a different
15     question.
16         A        Mm-hmm.
17         Q        For a normal DOL employee is it
18     okay, from the DOL's perspective, for
19     them to install Visual Studio Code on DOL
20     systems?
21                  MR. HUMPHREYS:     Objection,
22         vague.
23   BY MS. HINSON:
24         Q        You can answer.
25         A        So for -- so for a normal


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                                                                           Page 115
 1   standard user, I would say it -- the
 2   answer to that is no.
 3         Q      Okay.   And for a normal DOL
 4   employee, are they permitted to install
 5   PYTHON on DOL systems?
 6         A      Again, the answer to that is
 7   no.
 8         Q      Here, did anyone know Mr. Elez
 9   was installing these systems, these
10   programs, on DOL systems when he did it?
11                MR. HUMPHREYS:      Objection as
12         to scope.
13                You can answer.
14         A      No.
15         Q      How was that information
16   learned by DOL?
17         A      That information was learned
18   by -- through a discussion with Mr. Elez
19   and where it was determined that he had
20   installed those two software packages.
21         Q      And when did that happen?
22         A      When did the --
23         Q      When did the discussion happen?
24         A      When did the discussion happen?
25   Roughly, two weeks ago.


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                                                                           Page 116
 1        Q        And when had he installed the
 2   systems?
 3        A        I -- I don't know specifically
 4   when he installed them.
 5        Q        Okay.   For a normal DOL
 6   employee, what would have happened if DOL
 7   had learned that they had installed
 8   Visual Studio Code and PYTHON on DOL
 9   systems without permission?
10                 MR. HUMPHREYS:     Objection to
11        scope.
12        A        So for -- I think for any DOL
13   employee we would have evaluated -- first
14   evaluated, you know, what -- what the
15   need was.      We would still evaluate the
16   need for doing that, but ultimately we
17   may or may not have de-installed that
18   software, but we'd always just evaluate
19   the need.
20                 It's up to the individual
21   supervisor to determine any actions
22   beyond that.
23        Q        What was the response when DOL
24   learned that Mr. Elez had installed these
25   programs without permission?


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                                                                           Page 117
 1                 MR. HUMPHREYS:     Objection to
 2        scope.
 3        A        The response was we just -- we
 4   evaluated whether those packages were, in
 5   fact, or validated those packages were,
 6   in fact, on our approved software list,
 7   which they were, at which point we did
 8   not have any, you know, further concerns
 9   with that software being installed.
10        Q        Did it concern DOL that
11   Mr. Elez was installing software without
12   permission from the agency?
13        A        There's always concern when
14   that happens, it's not -- you know, this
15   is not a unique instance of that
16   occurring within the department.
17                 So there's always concern, but
18   then, you know, we apply logic to any
19   evaluation as to the level of risk
20   that -- that actually exists in that
21   having been done.
22        Q        Have any other DOGE team
23   affiliates installed any other software
24   on DOL systems?
25        A        No.


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                                                                           Page 118
 1        Q       Have any DOGE team affiliates
 2   requested to install any software on DOL
 3   system?
 4        A       No.
 5        Q       Are you familiar with a program
 6   called PuTTY?
 7        A       Yes.
 8        Q       What is it?
 9        A       So PuTTY is used for terminal
10   emulation.     So if you -- you think of
11   a -- well, I don't know how many people
12   have used a mainframe for a long time,
13   but it's basically an application you can
14   use from a Windows-based PC, for example,
15   to connect into a UNIX or Linux-based
16   system or mainframe system to get a
17   terminal command line view into that
18   system.
19        Q       Since January 19th have there
20   been -- has any DOGE team affiliate been
21   granted permission to install or use
22   PuTTY at DOL, even if it wasn't
23   ultimately done?
24        A       So any DOGE team affiliate
25   to -- to install or use, you're saying?


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                                                                           Page 125
 1        Q        Have the DOGE team affiliates
 2   copied any records from sensitive systems
 3   at DOL?
 4        A        Have they copied from the
 5   systems?      So can you clarify, what do you
 6   mean?
 7        Q        Have they -- well, have they
 8   made copies of any records from sensitive
 9   systems at DOL?
10                 MR. HUMPHREYS:     Objection,
11        vague.
12        A        Yeah, I -- I don't quite
13   understand what you mean.
14        Q        Well, I guess I was just trying
15   to follow up on sort of your last answer,
16   that PuTTY or similar system could be
17   used to remove or copy records; correct?
18        A        Yeah, I -- I think -- so if
19   you're asking, like, in the question that
20   you asked awhile ago, where data may be
21   kind of moved out of a system for
22   external analysis, then the answer to
23   that would be yes.
24        Q        Okay.   And where have -- well,
25   what -- what records have they copied?


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                                                                           Page 126
 1        A       So certainly for the
 2   financial -- financial management or
 3   accounting system it would be records in
 4   terms -- that relate to the department's
 5   expenditures, you know, could -- it has
 6   payroll records in there, it has grant
 7   expenditure records in there, it has
 8   obligations invoicing related to
 9   contracts, you know, full range of that
10   type of data.
11        Q       Does it have any PII?
12        A       It does have PII, yes.
13        Q       What kind of PII does it have?
14        A       So the PII there would be -- it
15   could be Social Security numbers for
16   employees, it's part of payroll
17   processing.        It may have -- have EIN
18   information in there, you know, related
19   to contracts or payments made to external
20   entities, so it would have that type of
21   data.
22        Q       Anything else that you can
23   remember right now?
24        A       No.     I think it's mainly
25   employee-type payroll information for


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                                                                            Page 127
 1     normal payroll processing, payments made,
 2     contract information, that type of --
 3     type of data.
 4         Q        And then what did they do with
 5     that data?
 6                  MR. HUMPHREYS:     Objection as
 7         to scope.
 8         A        So they would -- again, they
 9     would analyze that data to examine it for
10     fraud, waste, and the broad categories of
11     fraud, waste and abuse.
12                  They would -- they would review
13     that data, potentially for compliance
14     with other -- you know, executive orders,
15     could be related to, like, the hiring
16     freeze, for example, shouldn't be any new
17     employees on-boarding, so they would use
18     it for those purposes.
19         Q        Have they intermingled those
20     records with any other records?
21                  MR. HUMPHREYS:     Objection,
22         vague as to scope.
23   BY MS. HINSON:
24         Q        You can answer.
25         A        I -- I don't believe so.         I've


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                                                                           Page 128
 1   not seen that.
 2        Q       Do you know where they saved --
 3   let me try again.
 4                Where did they copy these
 5   records to?
 6                MR. HUMPHREYS:      Objection as
 7        to form.
 8        A       So they're -- so for those
 9   records, as -- as far as I know, they are
10   using them locally on their government
11   issued and encrypted devices.
12        Q       Have they -- have the DOGE team
13   affiliates shared any records from any
14   DOL sensitive system outside of the DOL?
15        A       I am not aware of that
16   occurring.
17        Q       Okay.
18        A       No.
19        Q       Have they shared any records
20   from a DOL sensitive system with someone
21   who's not authorized to view those
22   records?
23        A       Again, I would have to answer,
24   no, not -- not that I have seen.
25        Q       And have they removed any


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